       Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 1 of 11



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     Attorneys for Defendant Tile, Inc.
13
                                  UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
                                         OAKLAND DIVISION
16
     CELLWITCH INC.,                               Case No. 4:19-CV-01315-JSW
17
                    Plaintiff,
18                                                 DEFENDANT TILE, INC.’S NOTICE OF
             v.                                    MOTION AND MOTION FOR LEAVE
19                                                 TO FILE A MOTION FOR
     TILE, INC.,                                   RECONSIDERATION OF THE COURT’S
20                                                 NOV. 21, 2019 ORDER DENYING
                    Defendant.                     DEFENDANT’S MOTION TO DISMISS
21                                                 (Dkt. 57) AND REQUEST FOR JUDICIAL
                                                   NOTICE
22
                                                   Courtroom: 5
23                                                 Judge: Jeffrey S. White
                                                   (No hearing noticed pursuant to Civil L.R. 7-9)
24

25

26

27

28
     DEFENDANT TILE, INC.’S MOTION FOR
     LEAVE TO FILE MOTION FOR                                       CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
          Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 2 of 11



 1                                 NOTICE OF MOTION AND MOTION
 2            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3            PLEASE TAKE NOTICE that, pursuant to Civil L.R. 7-9, Defendant Tile, Inc. (“Tile” or
 4   “Defendant”) moves the Court for leave to file a motion for reconsideration of the Court’s January
 5   21, 2019 Order Denying Defendant’s Motion to Dismiss (Dkt. 57). This motion is based on this
 6   Notice of Motion, the attached memorandum of points and authorities in support thereof, the
 7   pleadings and documents on file in this case, and such other evidence and argument as may be
 8   presented at any hearing on this motion. In deciding this motion, Tile respectfully requests that the
 9   Court take judicial notice of the following documents:
10            1.     The Final Written Decision in Tile, Inc. v. Cellwitch Inc., IPR2020-00317, Patent
11                   8,872,655 B2 (PTAB May 13, 2021) (Exhibit A1);
12            2.     The Judgment in Cellwitch Inc. v. Tile, Inc., 2021-1982, 2021-2050 (Fed. Cir. May
13                   13, 2022) (Exhibit B);
14            3.     The Mandate in Cellwitch Inc. v. Tile, Inc., 2021-1982, 2021-2050 (Fed. Cir. June
15                   21, 2022) (Exhibit C); and
16            4.     The list of documents that currently comprise the prosecution history of Plaintiff’s
17                   asserted patent, U.S. Patent No. 8,872,655 (Exhibit D).
18                               STATEMENT OF RELIEF REQUESTED
19            Tile respectfully requests leave, pursuant to Civil L.R. 7-9(b)(1) and/or (2), to file a motion
20   for reconsideration of the Court’s November 21, 2019 Order Denying Defendant’s Motion to
21   Dismiss (Dkt. 57).
22                         MEMORANDUM OF POINTS AND AUTHORITIES
23   I.       INTRODUCTION
24            The Court has already concluded that Plaintiff’s asserted patent claims are directed to an
25   abstract idea under Alice2 step one. Dkt. 57 at 4:21–9:22. Despite that finding, the Court concluded
26   that it “must accept” Plaintiff’s factual allegation that using “a network of personal wireless
27   1
       All exhibits cited herein are to the Declaration of John F. Gaustad filed in support of this motion.
     2
28     Alice Corp. Pty. v. CLS Bank Int’l, 573 U.S. 208 (2014).
     DEFENDANT TILE, INC.’S MOTION FOR                  1
     LEAVE TO FILE MOTION FOR                                                  CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
         Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 3 of 11



 1   communication terminals to monitor and notify a particular user to when an item was no longer
 2   within a set range of the user”—herein after referred to as the “Buddy Limitation”3—was inventive
 3   under Alice step two. Dkt. 57 at 11:18–12:7. The Federal Circuit, however, has just affirmed a
 4   finding by the Patent Trial and Appeal Board (“PTAB”) that the Buddy Limitation was obvious in
 5   view of the prior art. See Ex. A at 37–49; Ex. B; Ex. C. This finding both (1) bars Plaintiff’s
 6   allegation that the Buddy Limitation was inventive under issue preclusion and (2) renders this
 7   allegation implausible, conclusory, and legally erroneous. In either case, Plaintiff’s Amended
 8   Complaint should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6). Because Tile
 9   is diligently pursuing reconsideration in view of this different and new material fact, Tile
10   respectfully requests that the Court grant it leave to move for reconsideration pursuant to Local Rule
11   7-9(b)(1) and/or (2).
12   II.     STATEMENT OF ISSUES TO BE DECIDED
13           Whether Tile may, pursuant to Civil L.R. 7-9(b)(1) or (2), file a motion for reconsideration
14   of the Court’s January 21, 2019 Order Denying Defendant’s Motion to Dismiss (Dkt. 57).
15   III.    STATEMENT OF RELEVANT FACTS
16           A.     The Court’s November 21, 2019 Order Denying Tile’s Motion to Dismiss
17           On May 16, 2019, Plaintiff Cellwitch Inc. (“Plaintiff”) filed an Amended Complaint,
18   alleging that Tile infringed U.S. Patent No. 8,872,655 (“the ’655 Patent”). See Dkt. 32, ¶¶ 69–121.
19   Tile thereafter moved to dismiss Plaintiff’s Amended Complaint under Federal Rule of Civil
20   Procedure 12(b)(6) because the ’655 Patent’s claims are invalid under 35 U.S.C. § 101. Dkt. 36.
21           The Court issued an order on November 21, 2019 denying Tile’s motion without prejudice.
22   Dkt. 57. Applying the two-step analysis required by the Supreme Court’s decisions in Mayo4 and
23   Alice, the Court first found that the claims of the ’655 Patent are directed to an abstract idea. Id. at
24   4:21–9:22. In doing so, the Court treated Claim 1 “as representative because the three claims are all
25   linked to the same abstract idea” (id. at 6:16–19) consistent with the fact that Plaintiff “treat[ed]
26
     3
       The PTAB referred to the claim limitation encompassing the alleged inventive concept as the
27   Buddy Limitation. See Ex. A at 37.
     4
28     Mayo Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66 (2012).
     DEFENDANT TILE, INC.’S MOTION FOR                 2
     LEAVE TO FILE MOTION FOR                                                 CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
       Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 4 of 11



 1   claim one as ‘exemplary’ in its complaint[]” (id. at 6:16–19 n.1 (citing Dkt. 32, ¶ 72)).
 2           Applying the second step of the Mayo-Alice analysis, however, the Court found that
 3   “Plaintiff ha[d] adequately alleged that it ordered the components recited in claim one in a non-
 4   conventional manner.” Id. at 11:25–27 (citation omitted). Those allegations were based on the
 5   aforementioned Buddy Limitation (emphasized below):
 6                   Plaintiff alleges, “[u]pon information and belief, at the time of the
                     ’655 Patent, there existed no solution that used a network of personal
 7                   wireless communication terminals to monitor and notify a particular
                     user to when an item was no longer within a set range of the user.”
 8
                     (Am. Compl. ¶ 30.) To support this allegation, Plaintiff also alleges
 9                   that the examiner found that patentability resided in the fourth clause
                     of claim one. (Id. ¶ 38.) Plaintiff later recites that claim in its
10                   complaint. (Id. ¶ 26, citing ’655 Patent at 15:4-35.)

11                   The Court finds these allegations create enough of a factual dispute to
                     defeat a Rule 12(b)(6) motion. Plaintiff has adequately alleged that it
12                   ordered the components recited in claim one in a non-conventional
13                   manner. See BASCOM, 827 F.3d at 1351. For example, Plaintiff
                     alleges that claimed invention represents an improvement over the
14                   prior art because it offered a solution “that used a network of personal
                     wireless communication terminals to monitor and notify a particular
15                   user to when an item was no longer within a set range of the user.”
                     (Am. Compl. ¶ 30.) The allegations in the complaint indicate that
16                   Plaintiff’s patent claimed a process that “address[ed] the moment of
17                   loss itself,” and this process was not well-known, routine,
                     conventional at the time of issuance of the ’655 Patent. (See id. at
18                   ¶ 32.) At this procedural posture, the Court must accept these
                     allegations as true and construe the facts alleged in favor of the non-
19                   moving party. See Cellspin, 927 F.3d at 1317-18.
20   Id. at 11:18–12:7 (emphasis added). The Court concluded by finding that “Plaintiff ha[d] made
21   sufficient allegations that the claims contain an inventive step which transforms the abstract
22   idea . . . into patentable subject matter.” Id. at 12:15–17.
23           B.      The Patent Trial and Appeal Board’s Final Written Decision and the Federal
                     Circuit’s Affirmance Thereof
24
             Tile thereafter filed with the PTAB a petition for inter partes review of the ’655 Patent. Dkt.
25
     61 at 1:24–27. The PTAB issued a Final Written Decision on May 13, 2021 (Ex. A at 1) finding that
26
     claims 1–3, 10–15, 22, and 23 of the ’655 Patent were unpatentable (id. at 86). The PTAB
27
     specifically found that the Buddy Limitation was obvious in view of the prior art. Id. at 37–49. The
28
     DEFENDANT TILE, INC.’S MOTION FOR                  3
     LEAVE TO FILE MOTION FOR                                                 CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
       Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 5 of 11



 1   PTAB also found that Tile had not “demonstrated . . . that claims 4–9 and 16–21 are unpatentable”
 2   (id. at 86), and those claims therefore remain at issue in this case. The Federal Circuit affirmed the
 3   PTAB on May 13, 2022 (Ex. B) and issued its mandate on June 21, 2022 (Ex. C), the day the present
 4   motion was filed.
 5   IV.     LEGAL STANDARDS
 6           A.      Issue Preclusion
 7           Issue preclusion “bars ‘successive litigation of an issue of fact or law actually litigated and
 8   resolved in a valid court determination essential to the prior judgment,’ even if the issue recurs in
 9   the context of a different claim.” Taylor v. Sturgell, 553 U.S. 880, 892 (2008) (quoting New
10   Hampshire v. Maine, 532 U.S. 742, 748–49 (2001)). “Issue preclusion applies if ‘(1) the issue at
11   stake was identical in both proceedings; (2) the issue was actually litigated in decided in the prior
12   proceedings; (3) there was a full and fair opportunity to litigate the issue; and (4) the issue was
13   necessary to decide on the merits.’” Paatalo v. JPMorgan Chase Bank, N.A., 684 F. App’x 601, 602
14   (9th Cir. 2017) (quoting Oyeniran v. Holder, 672 F.3d 800, 806 (9th Cir. 2012)). Dismissal of a
15   complaint under Rule 12(b)(6) is proper when the allegations depend on an issue of fact already
16   resolved against a plaintiff. See, e.g., Paatalo, 684 F. App’x at 602–03; Sussman v. Provident Life
17   & Acc. Ins., 326 F. App’x 421, 422 (9th Cir. 2009); Ghalehtak v. Fay Servicing, LLC, 304 F. Supp.
18   3d 877, 887–88 (N.D. Cal. Mar. 23, 2018).
19           B.      Pleading Standards
20           “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted
21   as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678
22   (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Such “allegations of
23   underlying facts” must (1) “give fair notice and [] enable the opposing party to defend itself
24   effectively” and (2) “plausibly suggest an entitlement to relief such that it is not unfair to require the
25   opposing party to be subjected to the expense of discovery and continued litigation.” Starr v. Baca,
26   652 F.3d 1202, 1216 (9th Cir. 2011). “‘The court need not . . . accept as true allegations that
27   contradict matters properly subject to judicial notice’” or “‘are merely conclusory, unwarranted
28   deductions of fact, or unreasonable inferences.’” In re Gilead Sciences Securities Litig., 536 F.3d
     DEFENDANT TILE, INC.’S MOTION FOR                  4
     LEAVE TO FILE MOTION FOR                                                   CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
         Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 6 of 11



 1   1049, 1055 (9th Cir. 2008) (quoting Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.
 2   2001), amended on other grounds, 275 F.3d 1187 (9th Cir. 2001)).
 3           C.     Reconsideration
 4           “Before the entry of a judgment . . . , any party may make a motion . . . requesting that [a]
 5   Judge grant the party leave to file a motion for reconsideration of any interlocutory order on any
 6   ground set forth in Civil L.R. 7-9(b).” Civil L.R. 7-9(a). “The moving party must specifically show
 7   reasonable diligence in bringing the motion and one of the following:”
 8                  (1) That at the time of the motion for leave, a material difference in
                    fact or law exists from that which was presented to the Court before
 9                  entry of the interlocutory order for which reconsideration is sought.
                    The party also must show that in the exercise of reasonable diligence
10
                    the party applying for reconsideration did not know such fact or law
11                  at the time of the interlocutory order; or

12                  (2) The emergence of new material facts or a change of law occurring
                    after the time of such order . . . .
13
     Civil L.R. 7-9(b)(1)–(2).
14
     V.      ARGUMENT
15
             A.     The Federal Circuit’s Affirmance of the PTAB Created a Material Difference
16                  in Fact and/or the Emergence of New Material Facts

17           The Court held in its November 22, 2019 order that, because Plaintiff’s Amended Complaint

18   adequately alleged that the Buddy Limitation was inventive, the Court could not grant Tile’s motion

19   to dismiss under Federal Rule of Civil Procedure 12(b)(6) due to a factual dispute. After the Court

20   issued this order, however, the PTAB found that the Buddy Limitation was obvious in view of the

21   prior art, and the Federal Circuit affirmed. This different or newly emerged fact is not only material,

22   but dispositive: either (1) issue preclusion bars Plaintiff from attempting to relitigate the non-

23   inventiveness of the Buddy Limitation, or (2) the Amended Complaint’s factual allegations are

24   conclusory and/or implausible.5 Accordingly, Tile respectfully requests that the Court grant

25   5
       Plaintiff alleged in its Amended Complaint that claim 1 was “exemplary.” See Dkt. 32, ¶¶ 25, 72,
     74, 76, 78; see also Dkt. 57 6:16–19 n.1 (citing Dkt. 32, ¶ 72). Plaintiff cannot take a contradictory
26   position in any future pleadings. “Subsequent amendments to a complaint must be ‘consistent with
     the challenged pleading’ and must not ‘contradict[] any of the allegations of [the] original
27   complaint.’” IV Solutions, Inc. v. Empire Healthchoice Assurance, Inc., No. 20-56132, 2021 WL
     5492974 (9th Cir. Nov. 23, 2021) (quoting Reddy v. Litton Indus., Inc., 912 F.2d 291, 296–97 (9th
28
     DEFENDANT TILE, INC.’S MOTION FOR                5
     LEAVE TO FILE MOTION FOR                                                CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
       Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 7 of 11



 1   reconsideration under Civil Local Rule 7-9(b)(1) and/or (2).
 2                  1.     Issue Preclusion Bars Plaintiff from Attempting to Relitigate the Non-
                           Inventiveness of the Buddy Limitation
 3
            The only outstanding alleged factual issue underlying Tile’s motion to dismiss—whether the
 4
     Buddy Limitation was an inventive concept (see Dkt. 57 at 11:18–12:7)—is identical to the issue
 5
     decided by the PTAB. The PTAB found that the Buddy Limitation was obvious in view of the prior
 6
     art. Ex. A at 37–49. In reaching this conclusion, the PTAB found that the prior art taught the Buddy
 7
     Limitation (including “generating an alert when a proximity threshold . . . is met or exceeded” (Ex.
 8
     A at 42; see also id. at 39–49)) and that the Buddy Limitation was simply an “‘arrange[ment of] old
 9
     elements with each performing the same function it had been known to perform and yield[ed] no
10
     more than one would expect from such an arrangement[]’” (id. at 51 (quoting KSR Int’l Co. v.
11
     Teleflex Inc., 550 U.S. 398, 406 (2007)); see also id. at 49–55). Accordingly, the Buddy Limitation
12
     is not inventive. Mayo, 566 U.S. at 81 (recognizing that a concept was inventive because it was not
13
     “in context obvious, already in use, or purely conventional” (emphasis added) (discussing Diamond
14
     v. Diehr, 450 U.S. 175, 187 (1981))); see also Sakraida v. Ag Pro, Inc., 425 U.S. 273, 279 (1976)
15
     (noting that by codifying a non-obviousness requirement in Section 103 of the 1952 Patent Act,
16
     Congress was incorporating into statute the Constitution’s requirement that there “be some
17
     ‘invention’ to be entitled to patent protection” (quoting Dann v. Johnston, 425 U.S. 219, 225
18
     (1976)).
19
            The Ninth Circuit often considers four factors in deciding whether “issues are identical”:
20
     “(1) substantial overlap of evidence or arguments, (2) application of the same rule of law,
21
     (3) overlap in pretrial preparation, and (4) relatedness of the claims.” Wenke v. Forest Labs., Inc.,
22
     796 F. App’x 383, 384 (9th Cir. 2020) (citations omitted). “‘[T]hese factors are not applied
23
     mechanistically’” and the identical-issue assessment varies depending on the specific facts. Sec. &
24
     Exch. Comm’n v. Stein, 906 F.3d 823, 829 (9th Cir. 2018) (quoting Howard v. City of Coos Bay,
25
     871 F.3d 1032, 1041 (9th Cir. 2017) and citing Friedenthal & Miller, Civil Procedure § 14.10 (5th
26

27
     Cir. 1990)). Moreover, the other claims add nothing for § 101, reciting more abstract and
28   conventional steps, like collecting data and generating notifications.
     DEFENDANT TILE, INC.’S MOTION FOR               6
     LEAVE TO FILE MOTION FOR                                               CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
       Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 8 of 11



 1   ed. 2015)). Here, given that both the PTAB’s obviousness finding and the search for Plaintiff’s
 2   alleged inventive concept require comparing the Buddy Limitation to the state of the prior art, the
 3   issues are identical in view of each of these factors. Even if Plaintiff argues that factor (2) is
 4   inapplicable because the unpatentability and obviousness inquiries stem from different statutory
 5   sections, any such argument is incorrect: even if “different rules of law” are at issue in two different
 6   actions, issue preclusion still applies so long as “the underlying issues are the same and the
 7   conclusions from the [first action] undercut [a party’s] theories in the [second] action.” Wenke, 796
 8   F. App’x at 384.
 9          Because the PTAB explicitly found that the Buddy Limitation was an arrangement of known
10   elements performing known functions to accomplish known results and was obvious in view of the
11   prior art (Ex. A at 37–49 & 51), and because the Federal Circuit affirmed (Ex. B) and has issued its
12   mandate (Ex. C), this issue was actually decided and the Plaintiff has had a full opportunity to litigate
13   it. E.g., Papst Licensing GMBH & Co. KG v. Samsung Elecs. Am., Inc., 924 F.3d 1243, 1251–52
14   (Fed. Cir. 2019) (applying issue preclusion to PTAB final written decisions in inter partes review
15   proceedings). Finally, the PTAB’s finding that the Buddy Limitation was obvious was necessary to
16   its Final Written Decision on the merits. To find that the claims were obvious, the PTAB found that
17   the prior art disclosed “every element” of those claims (Wireless Protocol Innovations, Inc. v. TCT
18   Mobile, Inc., 771 F. App’x 1012, 1013 (Fed. Cir. 2019)) and that the claim was “obviousness . . . as
19   a whole” (Gen. Electric Co. v. Raytheon Techs. Corp., 983 F.3d 1334, 1351–52 (Fed. Cir. 2020)).
20                  2.      Alternatively, Because the PTAB’s Findings Contradict the Amended
                            Complaint’s Factual Allegations Regarding the Inventiveness of the Buddy
21                          Limitation, Those Allegations Are Conclusory and/or Implausible
22          Alternatively, the PTAB’s finding that the Buddy Limitation was obvious renders Plaintiff’s
23   allegations about the Buddy Limitation conclusory and/or implausible. See, e.g., Lu v. Stanford
24   University, No. 17-cv-07034-VC, 2018 WL 11268585 (N.D. Cal. Mar. 26, 2018) (finding that a
25   prior judgment rendered factual assertions implausible in granting a motion to dismiss); Skillz
26   Platform Inc. v. AviaGames Inc., No. 21-cv-02436-BLF, 2022 WL 783338, at *18 (N.D. Cal. Mar.
27   14, 2022) (“[The plaintiff’s] allegations that the use of GPS or LPS was unconventional, innovative,
28   or an improvement are implausible in light of the intrinsic record, which indicates that these
     DEFENDANT TILE, INC.’S MOTION FOR                 7
     LEAVE TO FILE MOTION FOR                                                  CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
         Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 9 of 11



 1   technologies were conventional and that the [patent] claims recite using them for generic location-
 2   determining functions.” (citation omitted)). In its November 21, 2019 order, the Court recognized
 3   that Plaintiff alleged that the Buddy Limitation was inventive because “the examiner found that
 4   patentability resided in the fourth clause of claim one.”6 Dkt. 57 at 11:21–24 (citing Dkt. 32, ¶ 38).
 5   The PTAB has now found that the Buddy Limitation (the fourth clause of claim one) was obvious
 6   and not a source of patentability. Ex. A at 37–49. “‘The court need not . . . accept as true allegations
 7   that contradict matters properly subject to judicial notice’” or “‘are merely conclusory, unwarranted
 8   deductions of fact, or unreasonable inferences.’” In re Gilead, 536 F.3d at 1055 (quoting Sprewell,
 9   266 F.3d at 988). The PTAB’s finding that the Buddy Limitation was an “‘arrange[ment of] old
10   elements with each performing the same function it had been known to perform and yield[ed] no
11   more than one would expect from such an arrangement[]’” and obvious contradicts Plaintiff’s
12   factual allegation that the Buddy Limitation was a source of patentability, and thus somehow
13   inventive. Ex. A at 51. Absent this factual allegation, all that remains in the Amended Complaint
14   regarding alleged inventiveness are “‘[t]hreadbare recitals of the elements of a cause of action[]
15   supported by mere conclusory statements, [which] do not suffice.’” Id. (quoting Ashcroft, 556 U.S.
16   at 678); see also Skillz Platform, 2022 WL 783338, at *18 (finding that the plaintiff’s allegations
17   regarding Alice step two were “conclusory or implausible” “in light of the intrinsic record”).
18           B.     The PTAB’s Final Written Decision and the Federal Circuit’s Judgment and
                    Mandate Are Subject to Judicial Notice Can Be Considered
19
             The Court can consider the PTAB’s Final Written Decision and the Federal Circuit’s
20
     Judgment and Mandate in deciding Tile’s 12(b)(6) motion. “Public records, including judgments
21
     and other publicly filed documents, are proper subjects of judicial notice.” Anderson v. Intel Corp.
22
     Inv. Policy Comm., __ F. Supp. 3d __, 2022 WL 74002, at *6 (N.D. Cal. Jan. 8, 2022) (citing United
23
     States v. Black, 482 F.3d 1035, 1041 (9th Cir. 2007)); see also Fed. R. Evid. 201(b). Further, “‘it is
24

25
     6
       In the event Plaintiff argues that there are additional factual allegations in the Amended Complaint
26   that the Court did not include in its November 21, 2019 order, the PTAB’s Final Written Decision
     contradicts those allegations as well. E.g., compare Dkt. 32, ¶¶18–21 and 39 (alleging that the Ty
27   product embodied the claims of the ’655 Patent and that a publication described the Ty product as
     “innovative”), with Ex. A at 55–66 (finding that the Ty product did not embody the Buddy
28   Limitation).
     DEFENDANT TILE, INC.’S MOTION FOR                 8
     LEAVE TO FILE MOTION FOR                                                 CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
      Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 10 of 11



 1   proper . . . to take judicial notice of matters of public record outside the pleadings and consider them
 2   for purposes of [a] motion to dismiss.’” Patera v. Citibank, N.A., 698 F. App’x 468, 469 (9th Cir.
 3   2017) (quoting Mir v. Little Co. of Mary Hosp., 844 F.2d 646, 649 (9th Cir. 1988)). Indeed, the
 4   PTAB’s Final Written Decision is part of the ’655 Patent’s prosecution history (see Ex. D), which
 5   can be considered at the pleadings stage to resolve issues of patent eligibility under Section 101.
 6   E.g., Cleveland Clinic Found. v. True Health Diagnostics LLC, 760 F. App’x 1013, 1018 (Fed. Cir.
 7   2019) (citations omitted).
 8          C.      Tile Diligently Brought this Motion
 9          Tile has been diligent because it filed this motion as soon as the Federal Circuit issued its
10   mandate following the parties’ appeals of the PTAB’s Final Written Decision. This case has been
11   stayed since January 1, 2020 (Dkt. 68), and the Court specifically maintained the stay after the PTAB
12   issued its Final Written Decision because it could not “speculate as to how the Federal Circuit
13   w[ould] decide the parties’ appeals[]” (Dkt. 86 at 4:17–20). The Federal Circuit did not relinquish
14   its jurisdiction over the appeal until today. Ex. C.
15          Because the Federal Circuit’s affirmance of the PTAB’s Final Written Decision resolved all
16   remaining issues regarding patent eligibility, reconsideration of Tile’s motion to dismiss stands to
17   save significant resources as it should resolve this case without protracted litigation.
18   Reconsideration will therefore further the Federal Rules of Civil Procedure’s purpose of a “just,
19   speedy, and inexpensive determination of every action and proceeding.” See Fed. R. Civ. P. 1. As
20   predicted by both Tile and this Court, the PTAB proceedings and subsequent appeal have
21   streamlined the issues for this case. Dkt. 68 at 3:6–4:5; Dkt. 76 at 4:1–5:25.
22   VI.    CONCLUSION
23          For the foregoing reasons, Tile respectfully requests that the Court grant it leave to file a
24   motion for reconsideration of the Court’s November 21, 2019 Order (Dkt. 57).
25

26   Dated: June 21, 2022                                   BAKER BOTTS L.L.P.
27                                                          /s/ Sarah J. Guske
                                                            Sarah J. Guske
28                                                          CA Bar No. 232467
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     LEAVE TO FILE MOTION FOR                                                 CASE NO. 4:19-CV-01315-JSW
     RECONSIDERATION
     Case 4:19-cv-01315-JSW Document 103 Filed 06/21/22 Page 11 of 11



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